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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dynamite Marketing, Inc.                        )
                                                )      Case No. 18-cv-7760
v.                                              )
                                                )      Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                            )
UNINCORPORATED ASSOCIATIONS                     )      Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                      )
                                                )
                                                )


                             SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe    Store Name                   Store ID
 32     xiaoxilongaiwan              5aa2d3cf18435441efa76944
 33     yuantoton                    5aa34338c98949506b8c9ce8



dismisses them from the suit without prejudice.

Dated this 28th Day of July, 2019.              Respectfully submitted,


                                                By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record
                                                       Counsel for Plaintiff

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